    Case 19-01442-dd             Doc 11       Filed 04/11/19 Entered 04/11/19 13:55:45                      Desc Main
                                              Document      Page 1 of 22


                                        UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF SOUTH CAROLINA
IN RE:
                                                          CHAPTER 7
Matthew Aaron Welch and Amanda Grace Welch
                                                          BANKRUPTCY NO. 19-01442-dd
                                      Debtors


                NOTICE OF MOTION FOR RELIEF FROM AUTOMATIC STAY (11 U.S.C. § 362)

    TO: DEBTOR(S), TRUSTEE (if applicable) AND THOSE NAMED IN THE ATTACHED MOTION

    PLEASE TAKE NOTICE THAT a hearing will be held on the attached motion on:

    Date:         May 14, 2019
    Time:         9:00 a.m.
    Location:     145 King Street, Room 225, Charleston, SC 29401

         Within fourteen (14) days after service of the attached Motion, the Notice of Motion, the movant's Certification of
Facts, and a blank Certification of Facts form (applicable to service on pro se parties only), any party objecting to the relief
sought shall:
         1)       File with the Court a written objection to the 11 U.S.C. § 362 Motion;
         2)       File with the Court a Certification of Facts;
         3)       Serve on the movant items 1 & 2 above at the address shown below; and
         4)       File a certificate of such service with the Court.

        If you fail to comply with this procedure, you may be denied the opportunity to appear and be heard on this
proceeding before the Court.
                           DATE OF SERVICE:       4/11/19
                                   MOVANT:        Lakeview Loan Servicing, LLC

                                    ATTORNEY:
                                                      /s/John B. Kelchner
                                                      John B. Kelchner (#6987)
                                                      John S. Kay (#3936)
                                                      Ashley Z. Stanley (#10329)
                                                      Alan M. Stewart (#7231)
                                                      James D. Floyd (#11969)
                                                      HUTCHENS LAW FIRM
                                                      Attorneys for Lakeview Loan Servicing, LLC
                                                      P.O. Box 8237 (29202)
                                                      240 Stoneridge Drive, Suite 400
                                                      Columbia, SC 29210
                                                      803-726-2700
                                                      john.kelchner@hutchenslawfirm.com
                                                      john.kay@hutchenslawfirm.com
                                                      ashley.stanley@hutchenslawfirm.com
                                                      alan.stewart@hutchenslawfirm.com
                                                      james.floyd@hutchenslawfirm.com
      Case 19-01442-dd              Doc 11      Filed 04/11/19 Entered 04/11/19 13:55:45                       Desc Main
                                                Document      Page 2 of 22


                                       IN THE UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF SOUTH CAROLINA
IN RE:
                                                            CHAPTER 7
Matthew Aaron Welch and Amanda Grace Welch
                                                            CASE NO. 19-01442-dd
                    Debtors.


                                                  MOTION TO MODIFY STAY

          Lakeview Loan Servicing, LLC (hereinafter the “Movant”), moves the Court pursuant to 11 U.S.C. § 362 (d)(1) and
 (d)(2) for modification of the automatic stay issued in this case and represents as follows:
          1.         The above-referenced Debtors filed a petition for relief under Chapter 7 of the U.S. Bankruptcy Code on
 March 13, 2019.
          2.         Kevin Campbell is the Trustee of the Debtors’ estate and may claim an interest in the property that is the
 subject of this action.
          3.         That on or about November 5, 2015, for a value received, Matthew A. Welch did execute and deliver to
 Broker Solutions, Inc. dba New American Funding, a Corporation a certain note in writing according to the terms and
 conditions set out therein, wherein and whereby Matthew A Welch promised to pay to Broker Solutions, Inc. dba New
 American Funding, a Corporation the sum of $137,902.00, together with interest thereon at the rate of 4.125% per annum. A
 copy of said Note is attached hereto.
          4.         That in order to better secure the payments of the said note and debt, in accordance with the terms and
 conditions thereof, Matthew A Welch and Amanda G. Welch, did execute and deliver on November 5, 2015 unto Mortgage
 Electronic Registration Systems, Inc. as nominee for Broker Solutions, Inc. dba New American Funding, its successors and
 assigns, a mortgage recorded in Book 3441 at Page 2706 on November 9, 2015 in the office of Register of Deeds of
 Beaufort County, South Carolina covering property located at 45 Burlington Circle, Beaufort, SC 29906, (hereinafter
 “Property”), and is more fully described in the mortgage, which is attached hereto.
          5.         Thereafter, by virtue of an assignment dated November 1, 2017, recorded November 6, 2017, in Mortgage
 Book 3619 at page 2641, in the office of Register of Deeds of Beaufort County, South Carolina, Mortgage Electronic
 Registration Systems, Inc. as nominee for Broker Solutions, Inc. dba New American Funding, its successors and assigns,
 assigned said mortgage unto the Movant, making the Movant the present lien holder of record. A copy of the Assignment is
 attached hereto.
          6.          The Debtors are surrendering the property in this Chapter 7 case, no payments have been made post-
 petition and the Debtors are due for the May 1, 2018 - April 1, 2019 payments as follows: from May 1, 2018 - January 1,
 2019, nine (9) payments in the amount of $1010.88 each, totaling $9,097.92; from February 1, 2019 - March 1, 2019, two (2)
 payments of $1,011.63 each, totaling $2,023.26; and for April 1, 2019, one 1 payment of $1,011.56. The total delinquency
 through the April 1, 2019 payment, exclusive of attorneys’ fees and costs, is $12,132.74.
          7.         The Movant has therefore not been provided adequate protection for its interest in the Property and is
 suffering irreparable harm and injury.
     Case 19-01442-dd             Doc 11       Filed 04/11/19 Entered 04/11/19 13:55:45                         Desc Main
                                               Document      Page 3 of 22


         8.       The Debtors have no equity in the Property.
         9.       The Movant agrees to waive any claim that may arise under 11 U.S.C. Section 503(b) or Section 507(b) as
a result of this Order. The Movant further agrees that any funds realized from the sale of the collateral, in excess of all liens,
costs, and expenses, will be paid to the trustee.
         WHEREFORE, pursuant to 11 U.S.C. § 362 (d) (1) and (d) (2), the Movant hereby moves for an Order Granting
Relief from the stay for all purposes allowed by the Note, the Mortgage, and applicable law, including but not limited to the
right to foreclose allowing Movant (and any successors or assigns) to proceed under applicable non-bankruptcy law to
enforce its remedies to foreclose upon and obtain possession of the Property.

                                                        /s/John B. Kelchner
                                                        John B. Kelchner (#6987)
                                                        John S. Kay (#3936)
                                                        Ashley Z. Stanley (#10329)
                                                        Alan M. Stewart (#7231)
                                                        James D. Floyd (#11969)
                                                        HUTCHENS LAW FIRM
                                                        Attorneys for Lakeview Loan Servicing, LLC
                                                        P.O. Box 8237 (29202)
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                                                        james.floyd@hutchenslawfirm.com



Columbia, South Carolina
April 11, 2019
Case 19-01442-dd              Doc 11      Filed 04/11/19 Entered 04/11/19 13:55:45                      Desc Main
                                          Document      Page 4 of 22

                                    UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF SOUTH CAROLINA
IN RE:
                                                           CHAPTER 7
Matthew Aaron Welch and Amanda Grace Welch
                                                           BANKRUPTCY NO. 19-01442-dd
                                        Debtors

                                            CERTIFICATION OF FACTS

        In the above-entitled proceeding, in which relief is sought by Lakeview Loan Servicing, LLC from the
automatic stay provided by 11 U.S.C. § 362, I do hereby certify to the best of my knowledge the following:

1.       Nature of Movant’s Interest.
         Secured

2.       Brief Description of Security Interest, copy attached (if applicable),
         Note secured by mortgage on Debtors’ real property.
         (Copies attached to motion)

3.       Description of Property Encumbered by Stay (include serial number, lot and block number, etc.).
         45 Burlington Circle, Beaufort, SC 29906, County of Beaufort
         (See copy of mortgage for legal description)

4.       Basis for Relief (property not necessary for reorganization, debtor has no equity, property not property of
         estate, etc.; include applicable subsection of 11 U.S.C. § 362).
         § 362 (d) (1) and (d) (2) lack of adequate protection

5.       Prior Adjudication by Other Courts, copy attached (Decree of Foreclosure, Order for Possession, Levy of
         Execution, etc., if applicable).
         N/A.

6.       Valuation of Property, copy of Valuation attached (Appraisal, Blue Book, etc.):

         Fair Market Value:         $150,000.00

         Senior Liens :

         Movant's Lien:    (as of 4/1/19) $158,831.77

         Other Liens:       National Tire & Battery/Citibank    ($1,137.07)
         (Listed in order of priority)

         Net Equity:                $0.00

         Source/Basis of Value:                        Debtor(s)’ Schedules

7.       Amount of Debtor’s Estimated Equity (using figures from paragraph 6, supra). $0.00

8.       Month and Year in Which First Direct Postpetition Payment Came Due to Movant (if applicable).
         N/A
Case 19-01442-dd                  Doc 11         Filed 04/11/19 Entered 04/11/19 13:55:45                                   Desc Main
                                                 Document      Page 5 of 22

9.        (a) For Movant/Lienholder (if applicable): List or attach a list of all post-petition
          payments received directly from debtor(s), clearly showing date received, amount, and month and year for
          which each such payment was applied. 1

          No payments have been made.

          (b) For Objecting Party (if applicable): List or attach a list of all post-petition payments included in the
          Movant's list from (a) above which objecting party disputes as having been made. Attach written proof of
          such payment(s) or a statement as to why such proof is not available at the time of filing this objection.

10.       Month and Year for Which Post-petition Account of Debtor(s) is/are Due as of the Date of this Motion:
          May 1, 2018 (contractual due date)



                                                                 /s/John B. Kelchner
                                                                 John B. Kelchner (#6987)
                                                                 John S. Kay (#3936)
                                                                 Ashley Z. Stanley (#10329)
                                                                 Alan M. Stewart (#7231)
                                                                 James D. Floyd (#11969)
                                                                 HUTCHENS LAW FIRM
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                                                                 james.floyd@hutchenslawfirm.com


Columbia, South Carolina
April 11, 2019




1
  This requirement may not be met by the attachment of a payment history generated by the movant. Such attachment may be utilized as a
supplement to a complete and detailed response to (9)(a) above, which should be shown on this certification.
Case 19-01442-dd            Doc 11      Filed 04/11/19 Entered 04/11/19 13:55:45                     Desc Main
                                        Document      Page 6 of 22

                               IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF SOUTH CAROLINA
 IN RE:
                                                          CHAPTER 7
 Matthew Aaron Welch and Amanda Grace Welch
                                                          BANKRUPTCY NO. 19-01442-dd
                  Debtor(s)

                                          CERTIFICATE OF SERVICE

          I, the undersigned, do hereby certify that on today's date, I served on the persons below a copy of the
Notice of Motion, Motion to Modify Stay, and Movant’s Certification of Facts in the above-referenced case by
either electronic mail in accordance with U.S. Bankruptcy Court, District of South Carolina, Operating Order 08-07,
with respect to CM/ECF Participants, or depositing same in the United States Mail with sufficient postage affixed
and addressed as follows, with respect to all other persons:

Matthew Aaron Welch
45 Burlington Circle
Beaufort, SC 29906

Amanda Grace Welch
45 Burlington Circle
Beaufort, SC 29906

Kevin Campbell
PO Box 684
Mount Pleasant, SC 29465

Michael Glen Matthews
2015 Boundary St., Suite 319
Beaufort, SC 29902



                                                         /s/Doris Jackson
                                                         Doris Jackson
                                                         Bankruptcy Processor
                                                         HUTCHENS LAW FIRM
                                                         P.O. Box 8237
                                                         Columbia, SC 29202
                                                         (803) 726-2700

Columbia, South Carolina
April 11, 2019
Case 19-01442-dd   Doc 11   Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 7 of 22
Case 19-01442-dd   Doc 11   Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 8 of 22
Case 19-01442-dd   Doc 11   Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 9 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 10 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 11 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 12 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 13 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 14 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 15 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 16 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 17 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 18 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 19 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 20 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 21 of 22
Case 19-01442-dd   Doc 11    Filed 04/11/19 Entered 04/11/19 13:55:45   Desc Main
                            Document      Page 22 of 22
